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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


UNITED STATES OF AMERICA


VERSUS                                                CRIMINAL ACTION NO. 4:05CR95-P-B


KEVIN MATTHEWS

                                             ORDER

       This cause is before the Court on defendant Kevin Matthews’ Motion in Limine [511]. The

Court, having reviewed the motion, the response, the authorities cited and being otherwise fully

advised in the premises, finds as follows, to-wit:

       Defendant Matthews is charged in with conspiracy to possess and distribute cocaine and

cocaine base in Count 1 of a twenty-four count indictment involving some thirty-seven defendants.

His motion requests exclusion of transcripts and testimony pertaining to three recordings of

telephone conversations between Matthews and one of his co-defendants. He avers that the recorded

telephone conversations do not relate to the sale of cocaine or cocaine base; therefore, the

conversations are irrelevant to the charge in the indictment. In the alternative, Matthews contends

that the evidence is subject to exclusion under F.R.E. 403 on grounds of undue prejudice.

       In response to the instant motion, the government maintains that the telephone conversations

at issue are relevant in that the conversations concern acquisition of the drugs which form the basis

of the charge in the indictment and that the conversations furthered the objectives of the conspiracy

and are admissible under F.R.E. 801(d)(2)(E). United States v. Cornett, 195 F.3d 776, 782 (5th Cir.

1999). The Court concurs with the government’s position.
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       As a further matter, the intercepted telephone conversations are not subject to exclusion

under Rule 403. The telephone calls are highly probative direct evidence of Matthews’ participation

in the drug conspiracy. Defendant has failed to articulate any specific undue prejudice that would

inure in the event of their admission. Accordingly, the defendant’s motion is not well-taken and

should be denied.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that defendant Kevin Matthews’

Motion in Limine [511] is not well-taken and should be, and hereby is, DENIED.

       SO ORDERED, this the 22nd day of August, 2006.

                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
